 

Case 2:05-cv-00741-RSL Document 82 Filed 06/19/06 Page 1 of 1

 

 

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6 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
7 AT SEATTLE
8 ANNE WARDELL,
4 Plaintiff, NO. C05-741 RSL
10 VS
1 ORDER OF DISMISSAL
12 | DEANNA NOLLETTE, et al,,
13 Defendants.
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15 I having been reported to the Court on Monday, June 19, 2006 that the above cause has been

16 || settled, and no final order having yet been presented, NOW, THEREFORE,
17 IT IS ORDERED that this cause be and the same is hereby DISMISSED. This disntissal shall be
18 | without prejudice to the nght of any partly upon good cause shown within sixty (60) days hereof to

19 || reopen this cause if the reported settlement is not consummated.

20 The Clerk of the Court is instructed to send copies of this Order to all counsel of record.
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i DATED this [4 day of _ Jing , 2006.

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5 MMS Carmk

Robert 8. Lasnik
24 United States District Judge

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28 || ORDER OF DISMISSAL ERI

 

 

 

 
